         IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )
        vs.                                 )     No. 07-03106-06-CR-S-ODS
                                            )
CORY S. CLINES,                             )
                                            )
                         Defendant.         )


                         REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. §636, and has

entered a plea of guilty to Counts One and Six and admitted to the

forfeiture allegations of the Indictment filed on August 31, 2007.

After cautioning and examining the Defendant under oath concerning

each of the subjects mentioned in Rule 11, I determined that the

guilty pleas were knowledgeable and voluntary as to each count, and

that the offenses charged are supported by a factual basis for each

of the essential elements of the offenses.              I therefore recommend

that the pleas of guilty be accepted and that the Defendant be

adjudged guilty and have sentence imposed accordingly.



Date:     January 31, 2008                   /s/ James C. England
                                               JAMES C. ENGLAND, CHIEF
                                            UNITED STATES MAGISTRATE JUDGE




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                                 NOTICE

     Failure to file written objections to this Report and
Recommendation within ten(10) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28
U.S.C. §636(b)(1)(B).




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